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                    EXHIBIT A
                    January Fee Application
                   Case 01-01139-AMC                         Doc 18726-9                  Filed 05/15/08           Page 2 of 28




                               IN THE UNITED STATES BANKRUPTCY COURT
                                                FOR THE DISTRICT OF DELA WARE

In re:                                                                 )      Chapter I 1
                                                                       )
W. R. GRACE & CO., et al.,                                             )      Case No. 01-1139 (JKF)
                                                                       )
Debtors.                                                               )      (Jointly Administered)
                                                                              Objection Deadline: April 8, 2008 at 4:00 p.m.
                                                                              Hearing Date: TBD only if necessary


       SUMMARY OF THE SEVENTY-SIXTH MONTHLY APPLICATION OF
      CASNER & EDWARDS, LLP FOR COMPENSATION FOR SERVICES AND
REIMBURSEMENT OF EXPENSES AS SPECIAL LITIGATION COUNSEL TO DEBTORS
     FOR THE PERIOD FROM JANUARY 1,2008 THROUGH JANUARY 31,2008

Name of Applicant:                                                                        Casner & Edwards, LLP

Authorized to Provide Professional Services to:                                           W. R. Grace & Co., et aI., Debtors and
                                                                                          Debtors-in-Possession

Date of    Retention:                                                                     September 18,2001,
                                                                                          effective as of September 18,2001

Period for which compensation and                                                         January 1, 2008 through
reim bursement is sought:                                                                 January 31, 2008




           I The Debtors consist of   the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn.,
A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Coiporation, Amieon, Inc., CB Biomedical, Inc. (fla Circe Biomedical, Inc.), CCHP,
Inc., Coalgrace, (nc., Coalgrce II, Inc., Creative Food ~N Fun Company, Darex Puerto Rico, Inc.. Del Taco Restaurants, Inc., Dewey and Ahny, LLC

(f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd.. G C Limited Partners I, Inc. (f/ka Grace Cocoa Limited Partcrs I, Inc.), G C
Management, Inc. (f7a Grace Cocoa Management, Inc.), GEC Management Coiporation, GN Holdings, Inc., GPC Thomasvile Coip., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of
                                                                                              Cuba, Grace Culinary Systems, Inc., Grace Drilling
Company, Grace Energy Corporation, Grace Environmental, rnc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services
 Corporation, Grace International Holdings, Inc. (fl/a Dearborn Internaiional Holdings, Inc.), Grace Offshore Company, Grace PAR Corporaiion, Grace
 Petroleum Libya Iiicorporated, Grace Tarpon Investors, Inc., Grace Ventures Coip., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R.
 Grace Land Corporation, Gracoal, Inc., GracoallI, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Coiporation, Homco
 International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f1k/a GHSC Holding, Inc., Grace JVH, Inc.,
 Asbestos Management, Inc.), Monolith Enterprises, lncoiporaied, Monroe Street, Inc., MRA Holdings Corp. (f1k/a Nestor-BNA Holdings Corporation),
 MRA Intermedco, Inc. (r/k/a Nestor-BNA, rnc.), MRA Staffng Systems, Inc. (f1k/a British Nursing Association, Inc.), Rcmcdium Group, Inc. (f/k/a
 Environmental Liability Managcmcnt, Inc., E&C Liquidating Coip., Emerson & Cuming, Inc.), Southern Oi, Resin & Fiberglass, Inc., Water Street
 Corporation, Axial Basin Ranch Company, CC Partners (f/a Cross Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.
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Amount of Compensation sought as actual,
reasonable, and necessar:                                                           $16,372.50 (80% = $13,098.00)

Amount of     Expense Reimbursement sought as
actual, reasonable, and necessar:                                                   $11,960.75

This is an:         X monthly                 interim            _ final application

Prior Applications filed: Yes.




                     Period ÇQveri4           'ReèÏuèsted Fees, Requested                     Status ofJ?ees        Status of   Expenses
'j)atèFiled. -                     q'.         . ...... . '. ,:d .., "ExDenses                .' '.: ...' .



 12/4/0 I     9/18/0 i through 10/3 I/O i        $25,904.00                $3,139.72      No objections served    No objections served
                                                                                          on counsel              on counsel



 i /09/02     11/01/01 through 11/30/01         $117,210.00                $6,571 15      No objections servcd    No objections served
                                                                                          on counsel               on counsel



 1/28/02      12/01/0 I through 12/31/0 I       $146,802.00                $4,083.28      No objections served     No objections served
                                                                                          on counsel               on counsel



 3/15/02      01/01/02 through 01/1/02          $201,024.50                  $908.76      No objections served     No objections served
                                                                                          on counsel               on counsel



 4/11/02      02/01/02 through 02/28/02         $186,585.00                $2,638.22      No objections served     No objections served
                                                                                          on counsel               on counsel



              03/01/02 through 03/31/02          $194,087.00           $92,484.17         No objections served     No objections served
 5/9/02
                                                                                          on counsel               on counsel


              04/0 1/02 through 04/30/02         $222,932.00           $29,238.08         No objections served     No objections served
 6/4/02
                                                                                          on counsel               on counsel



                                                 $246,778.00           $ 14,876.86        No objections served     No objections served
 7/2/02       05/01/02 through 05/31/02
                                                                                          on counsel               on counsel



                                                 $ I 44,857.00         $ I 5,005.6 I      No objections served     No objections served
 8/6/02       06/01/02 through 06130/02
                                                                                          on counsel               on counsel



 9/1/02        07/01/02 through 07/31/02          $70,348.00           $ i 7 ,801.90      No objections served     No objections served
                                                                                           on counsel              on counsel



                 08/0 1/02 through 08/31/02       $58,072.00            $14,910.59         No objections served    No objections served
  i 0118/02
                                                                                           on counsel               on coiinsel


                 09/01/02 through 09/30/02        $40,335.00                $4,535.47      No objections served     No objections served
  11/14/02
                                                                                           on counsel               on counsel



                 10/0 1/02 through 10/31/02        $36,393.00              $ I 7,499.87    No objections served     No objections served
  12/16/02
                                                                                           on counsel               on counsel




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1/13/03      11/01/02 through 1 i /30/02     $43,910.00       $2,331.2 I      No objections served    No objections served
                                                                              on counsel              on counsel



2/11/03      12/01/02 through 12/31/02       $39,703.00      $26,00 1.22      No objections served    No objections served
                                                                              on counsel              on counsel



3/31/03      01/01/03 through 01/31/03       $36,57200       $13,818.89       No objections served    No objections served
                                                                              on counsel              on counsel



5/13/03      02/01/03 through 02/28/03       $37,363.00          $1,050.1 1   No objections served    No objections served
                                                                              on counsel              on counsel



51l 3/03     03/01/03 through 03/31/03       $35,519,00      $16,988.05       No objections served    No objections served
                                                                              on counsel              on counsel



7/11/03      04/01/03 through 04/30/03       $30,037.50      $ 14,427.54      No objections served    No objections served
                                                                              on counsel              on counsel



81l /03      05/01/03 through 05/31/03       $11,420,00      $ i 2,560.93     No objections served    No objections served
                                                                              on counsel              on counsel



811/03       06/01/03 through 06/30/03        $9,586,00      $13,073.04       No objections served    No objections served
                                                                              on counsel              on counsel



9/29/03      07/01/03 through 07/31/03        $8,858.00      $ i 2,888.56     No objections served    No objections served
                                                                              on counsel              on counsel



 11/6/03     08/01/03 through 08/31/03       $ i 0,256.50    $ i 3,076.13     No objections served    No objections served
                                                                              on counsel              on counsel



 11/13/03    09/01/03 through 09/30/03       $14,009,00      $13,261.68        No objections served   No objections served
                                                                               on counsel              on counsel



              10/0 1/03 through 10/31/03     $ i 9,884.00    $13,458.15       No objections served    No objections served
 12/12/03
                                                                               on counsel              on counsel



                                              $12,019.00      $13,196.18       No objections served    No objections served
 1/23/04      11/01/03 through 11/30/03
                                                                               on counsel              on counsel



 2/1 1/04     i 2/0 i /03 through 12/31/03     $5,3 i 8.00         $500.3      No objections served    No objections served
                                                                               on counsel              on counsel



                                              $14,274.50      $25,666.53       No objections served    No objections served
 3/ I 6/04    01/01/04 through 01/31/04
                                                                               on counsel              on counsel



                                               $9,658.50         $13,088.71    No objections served    No objections served
 4/13/04      02/01/04 through 02/29/04
                                                                               on counsel              on counsel



                                              $16,421.00         $13,349.16    No objections served    No objections served
 5/1/04       03/01/04 through 03/31/04
                                                                               on counsel              on counsel



 6/14/04      04/01/04 through 04/30/04       $15,745.00         $12,624.56    No objections served    No objections served
                                                                               on counsel              on counsel



 7/13/04      05/0 i /04 throu.gh 05/31/04     $6,487.00         $26,540.10    No objections served    No objections served
                                                                               on counsel              on counsel




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8/17/04       06/01/04 through 06/30/04       $11,018.50       $9,909.39         No objections served    No objections served
                                                                                 on counsel              on counsel



911/04        07/01/04 through 07/31/04       $13,651.00      $12,386.12         No objections served    No objections served
                                                                                 on counsel              on counsel



10/15/04      08/01/04 through 08/31/04       $38,791.00      $14,000.00         No objections served    No objections served
                                                                                 on counsel              on counsel



I I II 5/04   09/01/04 through 09/30/04       $14,142.00      $15,951.89         No objections served    No objections served
                                                                                 on counsel              on counsel



12/15/04      10/0 1/04 through 10/31/04       $4, I 77 .00   $25, I 18.55       No objections served    No objections served
                                                                                 on counsel              on counsel



1/6/05        11/01/04 through 11/30/04       $3 i ,459.00        $2,839.36      No objections served    No objections served
                                                                                 on counsel              on counsel



1/27/05       12/01/04 through 12/31/04       $29,299.00      $17,17791          No objections served    No objections served
                                                                                 on counsel              on counsel



3/25/05       1/01/05 through 1/31/05         $14,713.00      $14,317.79         No objections served    No objections served
                                                                                 on counsel              on counsel



5/ I 0/05     2/01/05 through 2/28/05         $20,275.00      $ I 3,251.6        No objections served    No objections served
                                                                                 on counsel              on counsel



5/16/05       03/01/05 through 03/31/05       $11,160.00      $11,684.66         No objections served    No objections served
                                                                                 on counsel              on counsel



                                              $27,127.00      $15,371.64         No objections served    No objections served
7/705         04/01/05 through 04/30/05
                                                                                  on counsel              on counsel



              05/01/05 through 05/31/05       $16,428.00      $15,260.16          No objections served    No objections served
7/20/05
                                                                                  on counsel              on counsel



               06/01/05 through 06/30/05       $18,474.00     $12,190.01          No objections served    No objections served
 8/2/05
                                                                                  on counsel              on counsel



 9/9/05        07/01/05 through 07/31/05       $2 1,231.00     $13,876.31         No objections served    No objections   served

                                                                                  on counsel              on counsel



               08/01/05 through 08/31/05       $17,306.50      $ I 2,851.87       No objections served    No objections served
 9/30/05
                                                                                  on counsel              on counsel



               09/01/05 through 09/30/05       $19,252.50      $13,258.24         No objections served    No objections served
 11/14/05
                                                                                  on counsel              on counsel



               I % I /05 through i 0/3 1/05    $24,069.00         $ i 5,964.63    No objections served    No objections served
 12/15/05
                                                                                  on counsel              on counsel



  \13 i /06     II/OJ/05 through 11/30/05      $38,027.50         $15,003.91      No objections served    No objections served
                                                                                  on counsel              on counsel



 2/14/06        12/01/05 through 12/3 1/05     $87,77750          $13,260.33      No objections served    No objections served
                                                                                  on counsel              on counsel




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3/31/06     01101106 though 0113/06       $30,680.00    $17,353.33         No objections served    No objections served
                                                                           on counsel              on counsel



5/1/06      02/01/06 through 02/28/06     $32,949.50    $22,535.6 I        No objections served    No objections served
                                                                           on counsel              on counel

5/23/06     03/01106 through 03/31106     $60,885.50    $ I 5,296.96       No objections served    No objections served
                                                                           on counsel              on counsel



6/8/06      04/01106 through 04/30/06     $23,816.00    $15,047.10         No objections served    No objections served
                                                                           on counsel              on counsel



7/8//06     05/01/06 through 05/31/06     $27,090.50    $15,330.01         No objections served    No objections served
                                                                           on counsel              on counsel



8/14/06     06/01106 through 06/30/06     $33,544.50    $11,977.34         No objections served    No objections served
                                                                           on counsel              on counsel



9/1 2/06    07/01106 through 07/31/06     $16,289.50    $15,153.31         No objections served    No objections served
                                                                           on counsel              on counsel



10/1 8/06   08/01/06 through 08/31/06     $34,3 12.00   $14,214.01         No objections served    No objections served
                                                                           on counsel              on counsel



11/21/06    09/01/06 through 09/30/06     $35,495.50    $13,202.34         No objections served    No objections served
                                                                           on counsel              on counsel



12/15/06    10/0 1/06 through 10/31/06    $33,865.00    $22,086.20         No objections served    No objections served
                                                                           on counsel              on counsel



1/16/07     11/01/06 through 11130/06     $33,796.00    $15,221.9          No objections served    No objections served
                                                                           on counsel              on counsel



3/1 /07      12/01/06 through 12/3 1106   $19,813.00    $14,435.75         No objections served    No objections served
                                                                            on counsel             on counsel



3/23/07     01/01/07 through 01/3 1/07    $19,909.50    $ I 2,083.70       No objections served    No objections served
                                                                            on counsel              on counsel



4/1 0/07    02/01/07 through 02/28/07     $24,635.00     $11,730.70         No objections served    No objections served
                                                                            on counsel              on counsel



 5/14/07     03/01/07 through 03/31/07     $20,829.50    $12,765.08         No objections served    No objections served
                                                                            on counsel              on counsel



 6/8/07      04/01/07 through 04/30/07      $9,905.00       $17,538.92      No objections served    No objections served
                                                                            on counsel              on counsel



 7/5/07      05/01/07 through 05/31/07      $7,235.00       $12,837.38      No objections served    No objections served
                                                                            on counsel              on counsel



 8115/07     06/01/07 through 06/30/07     $16,160.00       $1 i ,034.32    No objections served    No objections served
                                                                            on counsel              on counsel




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09/12/07       07/01/07 through 07/31/07             $15,613.50              $14,361.88         No objections served         No objections served
                                                                                                on counsel                   on counsel

10/10/07       08/01/07 through 08/31/07             $18,956.00              $12,010.22         No objections served         No objections served
                                                                                                on counsel                   on counsel

10/3 1/07      09/01/07 through 09/30/07               $6,938.50             $ I 4,182.33       No objections served         No objections served
                                                                                                on counsel                    on counsel



12/1/07         i % 1/07 through 10/31/07            $16,557.00              $12,003.26         No objections served         No objections served
                                                                                                on counsel                   on counsel

1/1708          i 1/01107 through 11/30/07           $ I 2,850.00 .          $12,756.91         No objections served          No objections served
                                                                                                on counsel                    on counsel


2/8/08          12/0 I /07 through 12/3 I /07        $12,508.00              $11,948.15         No objections served          No objections served
                                                                                                on counsel                    on counsel



3/18/08        01/01/08 through 01/31/08             $16,37250               $11,960.75         Pending                       Pending




As indicated above, this is the seventy-sixth application for monthly interim compensation of services
fied with the Bankptcy Court in the Chapter 11 Cases.2


The total time expended for the preparation of this application is approximately 1.4 hours, and the
corresponding estimated compensation that will be requested in a future application is approximately
$413.00.

The Casner attorneys and paraprofessionals who rendered professional services in these cases during
the Fee Period are:




            2 Any capitalized terms not defined herein have the meaning ascribed to them in the Verified Application of   Casner & Edwards LLP for
 Compensation tòr Services and Reimbursement of     Expenses as Special Litigation Counsel to Debtors, for the Fifth Monthly Interim Period from
 February 1,2002 through l'ebruary 28, 2002.



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                                                                          Fee Summar
                                                            (see Exhibit A to the Fee Detail)

 . Name' ofPro(ès~ioiiäl".                                  , Nüiibè.r     Departnié~t,'.' 'ßó'uriybiling, .'     Totäi biled                   Total
                             .... .l~s-Jti~'~--~f~tll..'~
  . ... ,: 'Person'. .          the appli~apt .               of.years                    .. rate                   hours                 çompenslition
                                                              . aslin
                                                            attorney
                                                                                                             ..


 Robert A. Murphy              Senior Counsel               41            Litigation               $295.00                   4.50           $1,327.50

 Roberl A. Murphy              Senior Counsel               41            Litigation             No Charge                   0.15                  $0,00


 Donna B. MacKenna             Partner                      24             Litigation              $260.00                   0.10                 $26.00


 Matthew T. Murphy             Associate                    20             Litigation              $255.00                  10.80           $2,754.00



'.. Name ofProfessiónal         losition with ". Number                     Departmeiit       HourlybiUing        Total     billed           Total
         . Person              . the"pplicant 'of years                                           rate                    hours           compensation
                                                  in the
                                                            . po~itjon


 Angela R. Anderson            Paralegal                     24            Litigation              $110.00                 111.0            $12,265.00


    TOTALS                                                                                                                 127.05           $16,37250


                                                                                        Total Fees:                   $16,372.50




                                                                         Expense Summary

                                                             (see Exhibit B to the Fee Detail)

                                                 Expense Catel!"rv                                                                   Exoenses
                                                                                                                                                  $4.60
 Excess Postage
                                                                                                                                                $25.44
  Federal Express

                                                                                                                                                  $9.92
  Pacer Online Search


  Rent Reimbursement                                                                                                                      $11,518.19

                                                                                                                                                $402.60
  Miscellaneous

                                                                                                                                          $11,960.75
  TOTAL


                                                                                            Total Expenses:               $11,960.75




                                                                                    7
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                                       Compensation Summar By Project Category

                                       Pro.liict Cat~ory, .... ......         ..           ..   .. ToJa1H911rs             .Total
                                                                                                . for the IntÚiri     Compensation
                                                                                                      Period          for the Interim
                                                                                                                 . ..      Period
Litigation and Litigation Consulting                                                                   124.60           $15,664.50


Fee Applications, Applicant                                                                              2.45              $708.00

Expenses                                                                                              N/A               $11,960.75

TOTALS                                                                                                 127.05           $28,333.25




Dated: March 18,2008                                              CASNER & EDWARDS, LLP



                                                                 Rooort~: ~Ðoo)
                                                                  303 Congress Street, 211d Floor
                                                                  Boston, MA 022 i 0
                                                                  (617) 426-5900

                                                                  Special Litigation Counsel




52000.57/432716




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                               IN THE UNITED STATES BANKRUPTCY COURT
                                                FOR THE DISTRICT OF DELA WAR

In re:                                                                 )      Chapter I i
                                                                       )
W. R. GRACE & CO., et~l                                                )      Case No. 01-1139 (JKF)
                                                                       )
Debtors.                                                               )      (Jointly Administered)
                                                                              Objection Deadline: April    8, 2008 at 4:00 p.m.
                                                                              Hearing Date: TBD only if necessary



                     FEE DETAIL FOR CASNER & EDWARS, LLP'S
                     SEVENTY -SIXTH MONTHLY FEE APPLICATION
           FOR THE PERIOD FROM JANUARY 1, 2008 THROUGH JANUARY 31, 2008




           1 The Debtors consist of   the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn,
A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical,
                                                                                                           Inc. (flkla Circe Biomedical, Inc.), CCHP,
                                                                                                                                       and Almy, LLC
Jnc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ;.N Fun Company, Darex Puerto Rico, Inc., Dcl Taco Restaurants, Inc., Dewey

(f/k/a Dcwcy and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parters 1, Inc. (f/ka Grace Cocoa Limited Parters I, Inc.), G C
Management, Inc. (f1k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of
                                                                                                Cuba, Grace Culinar Systems, Inc., Grace Drilling

 Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G 11 Inc., Grace Hotel Services
 Corporation, Grace International Holdings, Inc. (f/k/a Dcarborn Intcrnational Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
 Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R.
 Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corpration, Hanover Square Corporation, Homco
 International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (flk/a GHSC Holding, Inc., Grace JVH. Inc.,
 Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f1k/a Nestor-BNA Holdings Corporation),
 MRA Intermedco, Inc. (f1k/a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (f1k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a
 Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
 Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




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                     EXHIBIT A
                       (Fee Detail)
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                                           CASNER & EDWARDS, LLP
                                             ATTORNEYS AT LAW
                                            303 CONGRESS STREET
                                    BOSTON, MASSACHUSETTS 02210
                                          F.I.N. XX-XXXXXXX


                                                                          March ii, 2008

                                                                         Bil Number 15831
                                                                         File Number 0052000-0000043
Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W. R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Litigation and Litigation Consulting

LEGAL SERVICES

Through January 31, 2008

   Date Attv Description                                                          Time                 Value

01/02/08 MTM Prepare repository for review by counsel from Holme 0.40 Hrs                         $102.00
                    Roberts and new Kirkland & Ells counseL.
01/03/08 RAM Read emails re: preparing for document review by K&E 0.20 Hrs                         $59.00
                    attorney; conference with MTM re: same.
01/03/08 DBM Discussion with MTM re: Searchlink information in 0.10 Hrs                            $26.00
                    preparation for his meeting with new K&E lawyer.
01/03/08 MTM Continue to prepare repository for review tomorrow by 2.60 Hrs                       $663.00
                    Holme Roberts and K&E counsel (2.2); email to Holme
                    Roberts and K&E counsel re: same (.2); telephone call to
                    in-house counsel re: same (.1); telephone call to K&E
                    counsel re: Boston document review (.1).
01/04/08 RAM Conference with MTM re: status of document review by 0.20 Hrs                         $59.00
              K&E attorney.
01/04/08 MTM Meeting with K&E and Holme Roberts counsel re: 6.60 Hrs                             $1,683.00
              defense of obstruction of justice charge in Grace criminal
               matter (4.4); conference with RAM re: same (.2); review
               repository with K&E and Holme Roberts counsel re:
              same (2.0).




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Mark A. Shelnitz

Re: Litigation and Litigation Consulting

   Date    Attv    Description                                                         Time               Value
01/04/08 ARA       Per MTM's request, review files/inventories to determine         2.00 Hrs           $220.00
                   if Libby common exhibits were copied for EPA review
                   (1.5). Locate and review EPA review sheets and attorney
                   review indices for K&E (.5).
01/05/08   RAM     Email from in-house counsel re: proposed rent increase           0.05 Hrs          No charge
                   at Winthrop Square; forward to PM.
01/07/08   RAM     Email to in-house counsel with information re: rent              0.10 Hrs             $29.50
                   increase at Winthrop Square. Emails from MTM re:
                   possible "obstruction of justice" document review.
01/07/08   MTM     Gather indices and memos for K&E counsel re: possible            0.80 Hrs            $204.00
                   document review for criminal defense matter. (.5); email
                   to him re: same (.3).
01/07/08 ARA       Quality control property damage ledgers.                         3.00 Hrs            $330.00
01/08/08 ARA       Quality control property damage ledgers.                         6.50 Hrs            $715.00
01/09/08 ARA       Quality control property damage ledgers.                         6.70 Hrs            $737.00
01/10/08 RAM       Read updated bankruptcy court docket entries to select           0.20 Hrs             $59.00
                   documents to read.
01/10/08   ARA     Quality control property damage ledgers.                         7.10 Hrs            $781.00
01/11/08   RAM     Read selected documents filed in bankruptcy court.               1.00 Hrs            $295.00
01/11/08   ARA     Quality control property damage ledgers.                         6.00 Hrs            $660.00
01/13/08   RAM     Read selected documents filed in bankruptcy court.               0.40 Hrs            $118.00
01/14/08   ARA     Quality control property damage ledgers.                         6.60 Hrs            $726.00
01/15/08   ARA     Quality control property damage ledgers.                         6.50 Hrs            $715.00
01/16/08   ARA     Quality control property damage ledgers (3.2). Document          3.50 Hrs            $385.00
                   control (.3).
01/17/08 ARA       Quality control property damage ledgers (4.0). Quality           6.50 Hrs            $715.00
                   control documents reviewed by criminal defense attorney
                   (2.5).
01/18/08 ARA       Quality control documents reviewed by criminal defense           6.50 Hrs            $715.00
                   attorney.
01/22/08 ARA       Quality control documents reviewed by criminal defense           6.10 Hrs            $671.00
                   attorney.
01/23/08 ARA       Inventory boxes of some of the documents reviewed by             6.10 Hrs            $671.00
                   criminal defense attorney to return them to WRG,
                   Cambridge (4.8). Document control (1.3).
01/24/08 MTM       Email from in-house counsel re: Libby personnel file (.1);       0.20 Hrs             $51.00
                   review index and telephone call to ARA re: same (.1)
01/24/08 ARA       Organize documents/indices to return to WRG,                     6.80 Hrs            $748.00
                   Cambridge (1.7). Per MTM's request, locate and review
                   Libby personnel file for in-house counsel (1.1); have file
                   copied by Merril Corp (.5). Quality control documents
                    reviewed by criminal defense attorney (3.5).




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Mark A. Shelnitz

Re: Litigation and Litigation Consulting

   Date Attv       Description                                                          Time                Value
01/25/08 ARA       Quality control documents reviewed by criminal defense          5.80 Hrs               $638.00
                   attorney (5.5). Receipt of originals and copies of Libby
                   personnel file from copy service (.3).
01/28/08 ARA       Quality control documents in the production set                 6.80 Hrs               $748.00
                   previously produced to Personal    Injury Creditors
                   Committee.
01/29/08 RAM       Email from/to PM re: Winthrop Square rent issue.                 0.05 Hrs            No charge
01/29/08 MTM       Email from criminal defense paralegal re: personnel file         0.20 Hrs               $51.00
                   for former Libby employee (.1); review index and respond
                   to paralegal re: same (.1).
01/29/08 ARA       Quality control documents in the production set                  5.80 Hrs              $638.00
                   previously produced to Personal   Injury Creditors
                   Committee.
01/30108 ARA       Qualiy control documents in the production set                   6.50 Hrs              $715.00
                   previously produced to Personal       Injury Creditors
                   Committee.
01/31/08 ARA       Quality control documents in the production set                  6.70 Hrs              $737.00
                   previously produced to Personal  Injury Creditors
                   Committee.
                                                                     TOTAL LEGAL SERVICES               $15,664.50

LEGAL SERVICES SUMMARY

ROBERT A. MURPHY                                         2.10Hrs     295/hr           $619.50
ROBERT A. MURPHY                                         0.10Hrs     295/hr       No charge
DONNA B. MACKENNA                                        0.10 Hrs    260/hr           $26.00
MATTHEW T. MURPHY                                       10.80 Hrs    255/hr        $2,754.00
ANGELA R. ANDERSON                                     111.50 Hrs    11 O/hr      $12,265.00
                                                       124.60 Hrs                 $15,664.50

                                                                               TOTAL THIS BILL          $15,664.50




                                                         Page 3
                   Case 01-01139-AMC       Doc 18726-9        Filed 05/15/08     Page 15 of 28


                                     CASNER & EDWARDS, LLP
                                       ATTORNEYS AT LAW
                                      303 CONGRESS STREET
                                  BOSTON, MASSACHUSETTS 02210
                                          F.I.N. XX-XXXXXXX


                                                                       March 11, 2008
                                                                       Bill Number 15832
                                                                       File Number 0052000-0000057

Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W.R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Fee Applications, Applicant

LEGAL SERVICES

Through January 31, 2008

   Date   Attv     Description                                                   Time                Value

01/08/08 RAM       Work on November fee application.                         1.10 Hrs             $324.50
01/09/08 RAM       Work on November fee application (.3); send it to         0.40 Hrs             $118.00
                   in-house counsels to review (.1).
01/10/08 RAM       Telephone call from in-house counsel that fee application 0.05 Hrs            No charge
                   may be filed.
01/13/08 RAM       Finalize November fee application and send it to          0.20 Hrs               $59.00
                   Delaware counsel to file.
01/31/08 RAM       Work on Deæmber fee application.                          0.70 Hrs              $206.50
                                                                TOTAL LEGAL SERVICES               $708.00

LEGAL SERVICES SUMMARY

ROBERT A. MURPHY                                 2.40 Hrs     295/hr           $708.00
ROBERT A. MURPHY                                 0.05 Hrs     295/hr      No charge




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Mark A. Shelnitz

                                           2.45 Hrs                $708.00

                                                             TOTAL THIS BILL           $708.00




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                     EXHIBIT B
                     (Expense Detail)
                   Case 01-01139-AMC          Doc 18726-9      Filed 05/15/08   Page 18 of 28

                                           CASNER & EDWARDS, LLP
                                             ATTORNEYS AT LAW
                                            303 CONGRESS STREET
                                    BOSTON, MASSACHUSETTS 02210
                                             . F.I.N. XX-XXXXXXX


                                                                        March 11, 2008
                                                                        Bill Number 15833
                                                                        File Number 0052000-0000043
Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W.R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Litigation and Litigation Consulting


DISBURSEMENTS
Through January 31, 2008

EXCESS POSTAGE                                                                                  $4.60

FEDERAL EXPRESS
01/18/08 To 7500 Grace Dr, W R Grace & Co. from Casner and                      10.00
           Edwards on December 18, 2007 by MTM.
                                                                                            $10.00

PACER ONLINE SEARCH
01/16/08 12/05/2007                                                              0.08
01/16/08 12/06/2007                                                              1.92
01/16/08 11/21/2007                                                              0.72
01/16/08 11/15/2007                                                              0.08
01/16/08 12/27/2007                                                              0.08
01/16/08 12/19/2007                                                              0.32
01/16/08 12/07/2007                                                              0.08
01/16/08 11/07/2007                                                              0.16
01/16/08 12/28/2007                                                              0.88
01/16/08 12/20/2007                                                              0.88




                                                    Page 1
                   Case 01-01139-AMC       Doc 18726-9       Filed 05/15/08    Page 19 of 28


Mark A. Shelnitz

Ke: Litigation and Litigation Consulting


DISBURSEMENTS
Through January 31, 2008

PACER ONLINE SEARCH
01/16/08 10/26/2007                                                             0.32
01/16/08 10/01/2007                                                             1.36
01/16/08 10/09/2007                                                             0.32
01/16/08 12/06/2007                                                             0.16
01/16/08 10/10/2007                                                             0.40
01/16/08 10/25/2007                                                             0.08
01/16/08 10/11/2007                                                             0.24
01/16/08 10/25/2007                                                             0.08
01/16/08 1 0/22/2 007                                                           0.16
01/16/08 11/06/2007                                                             1.52
01/16/08 10/17/2007                                                             0.08
                                                                                             $9.92

RENT REIMBURSEMENT
')1/02/08 Rent and utilties for document repository at One Winthrop       11,518.19
           Square- January 2008.
                                                                                        $11,518.19

MISCELLANEOUS
01/10108 RECORDKEEPER ARCHIVE-Storage 1/1/08 through                          402.60
          1/31/08
                                                                                          $402.60
                                                              TOTAL DISBURSEMENTS              $11,945.31

                                                                      TOTAL THIS BILL          $11,945.31




                                                 Page 2
                   Case 01-01139-AMC      Doc 18726-9      Filed 05/15/08   Page 20 of 28


                                     CASNER & EDWARDS, LLP
                                       ATTORNEYS AT LAW
                                      303 CONGRESS STREET
                                  BOSTON, MASSACHUSETTS 02210
                                          F.I.N. XX-XXXXXXX


                                                                     March 11, 2008
                                                                     Bill Number 15834
                                                                     File Number 0052000-0000057
Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W.R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Fee Applications, Applicant


DISBU RSEM ENTS

Through January 31, 2008


FEDERAL EXPRESS
01 /18/08 To 919 N Market Street, Pachulski Stang Ziehl & Jones,             15.44
           Patricia Cuniff from Casner and Edwards on December 14,
           2007 by RAM.
                                                                                         $15.44
                                                              TOTAL DISBURSEMENTS              $15.44

                                                                     TOTAL THIS BILL           $15.44




                                                Page 1
              Case 01-01139-AMC                         Doc 18726-9              Filed 05/15/08               Page 21 of 28




                                 IN THE UNTED STATES BANUPTCY COURT

                                            FOR THE DISTRICT OF DELAWAR

Inre:                                                                )       Chapter 1 1
                                                                     )
W. R. GRACE & CO., et al.,l                                          )       Case No. 01-01139 (JK)
                                                                     )       Jointly Administered
                      Debtors.                                       )

                                                   AFFIDAVIT OF SERVICE


                      Lyny Oberholzer, being duly sworn according to law, deposes and says that she

is employed by the law firm of                 Pachulski Stang Ziehl & Jones LLP, co-counsel for the Debtors

in the above-captioned action, and that on the 19th day of                         March 2008, she caused a copy of           the

following document to be served upon the attached service list in the maier indicated:




1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f7a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amieon, Inc., CB Biomedical, Inc. (f7a
Circe Biomedical, Inc.), CCHP, Inc., Coal        grace, Inc., Coal   grace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restarants, Inc., Dewey and Alroy, LLC (fJa Dewey and Almy Company), Eearg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (f7a Grace Cocoa Limited Parer I, Inc.), G C Management, Inc. (f/lc/a Grace Cocoa
Management, Inc.), GEC Maagement Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drillng Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Service Corporation, Grace International Holdings, Inc. (fJa Deaborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grce Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corpration, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Carbe Land Development Corporation, Hanover Squar Corporation, Homco Interational, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f7a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f7a Ncstor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f7a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f7a British Nursing Association,
Inc.), Remedium Group, Inc. (f7a Environmental Liability Management, Inc., E&C Liquidatig Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parers (f7a Cross
Countr Staffng), Hayden-Gulch West Coal Company, HoG Coal Company.




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               Case 01-01139-AMC             Doc 18726-9       Filed 05/15/08      Page 22 of 28




                       Seventy-Sixth Monthly Application of Casner & Edwards, LLP for
                       Compensation for Services and Reimbursement of Expenses as Special
                       Litigation Counsel to Debtors for the Period from January 1, 2008 through
                       January 31, 2008




                                            ~~
                                             Lyny Oberholzer


SWORN TO AN SUBSCRIED
                                                              MARY E. CORCORA
by m th day of March 2008.                                      NOTARY PUBLIC
                                                              STATE OF DELAWARE
                                                           My commission expires Nov. 4, 20




91 1 OO-OOI\DOCS_DE:      127906.36                    2
          Case 01-01139-AMC           Doc 18726-9   Filed 05/15/08                 Page 23 of 28




Grace Fee Application Service List              Federal Express and E-mail:
Case Number: 01-1139 (JK)                       willia~soark~2rac~com
Document Number: 45804                          (W.R. Grace & Co.)
01 - Hand Delivery                              Mark Shelnitz
02 - Federal Express                            W.R. Grace and Co.
1 0- E-Mail                                     7500 Grace Drive
                                                Columbia, MD 21044

(Counsel to Debtors and Debtors in              E-mail: nJ!lassman(âXbavardfir~com
Possession)                                     (Local Counsel to DIP Lender)
Laura Davis Jones, Esquire                      Neil Glassman, Esquire
James E. O'Neil, Esquire                        The Bayard Firm
Pachulski Stang Ziehl & Jones LLP
919 North Market Street, 17th Floor             E-mail: meskin(à.del.camLev.com
P.O. Box 8705                                   (Local Counsel to Asbestos Claimants)
Wilmington, DE 19899-8705                       Marla Eskin, Esquire
                                                Campbell & Levine, LLC
(Parcels)
Vito i. DiMaio                                  E-mail: ttacconell(àferrv;oseoh.com
Parcels, Inc.                                   (Counsel for Property Damage Claimants)
10th & King Streets                             Theodore Tacconell, Esquire
P.O. Box 27                                     Ferr & Joseph, P.A.
Wilmington, DE 19899
                                                E-mail: mlastowski(à.duanemorris.com
Hand Delivery                                   (Counsel to Offcial Commttee of
(United States Trustee)                         Unsecured Creditors)
David Klauder, Esquire                          Michael R. Lastowski, Esquire
Office ofthe United States Trustee              Duane, Morrs & Heckscher LLP
844 Kig Street, Room 2311
Wilmington, DE 19801                            E-mail: currier(jclettroonev.com
                                                (Counsel for Offcial Commttee of
                                                                                              Equity
Federal Express                                 Holders)
(Fee Auditor)                                   Teresa K.D.Currer, Esquire
Waren H. Smith                                  Klett Rooney Lieber & Schorling
Waren H. Smith & Associates
Republic Center                                 E-mail: llvnl(àßaodale.com
325 N. St. Paul                                 (Official Committee of             Personal Injury
Suite 1275                                      Claimants)
Dallas, TX 75201                                Elihu hiselbuch, Esquire
                                                Caplin & Drysdale, Charered
              Case 01-01139-AMC                Doc 18726-9   Filed 05/15/08   Page 24 of 28




E-mail: ;sakalo(bilzin.com
(Offcial Commttee of             Property Damage
Claimats)
Scott L. Baena, Esquire
Bilzin Sumberg Dun Baena Price &
Axelrod LLP

E-mail: caroLhennessev(Jw.com
(Counsel to DlP Lender)
David S. Heller, Esquire
Latham & Watkins

E-mail: fJbentlev(.kramerlevin.com
(Counsel to Official Committee          of   Equity
Holders)
Philip Bentley, Esquire
Kramer Levin Naftalis & Franel LLP
              Case 01-01139-AMC                         Doc 18726-9          Filed 05/15/08               Page 25 of 28




                                  IN THE UNTED STATES BANUPTCY COURT

                                           FOR THE DISTRICT OF DELAWAR

rnre:                                                           )        Chapter 11
                                                                )
W. R. GRACE & CO., et al.,l                                     )        Case No. 01-01139 (JK)
                                                                )        Jointly Administered
                      Debtors.                                  )

                                                   AFFIDAVIT OF SERVICE


                      Lyny Oberholzer, being duly sworn according to law; deposes and says that she

is employed by the law firm of                 Pachulski Stang Ziehl & Jones LLP, co-counsel for the Debtors

in the above-captioned action, and that on the 19th day of                     March 2008, she caused a copy of            the

following document to be served upon the attached service list in the marer indicated:




I The Debtors consist of
                                 the following 62 entities: W. R. Grace & Co. (f7a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amieon, Inc., CB Biomedical, Inc. (f/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgraee, Inc., Coal      grace II, Inc., Creave Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restarants, Inc., Dewey and AImy, LLC (fJa Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (f/a Grace Cocoa Limited Parters I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEe Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (fJa Deaborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Jnc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capitai Corpration, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Carbe Land Development Corporation, Hanover Square Corporation, Homeo International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f7a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/a Ncstor-BNA Holdings
Corporation), MR Intermedco, Inc. (f/a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (f7a British Nursing Association,
Inc.), Remedium Group, Inc. (f7a Environmental Liabilit Management, Inc., E&C Liquidatig Corp., Emerson & Cumig,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parers (fJa Cross
Countr Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




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                 Case 01-01139-AMC       Doc 18726-9       Filed 05/15/08      Page 26 of 28




                   Seventy-Sixth Monthly Application of Casner & Edwards, LLP for
                   Compensation for Services and Reimbursement of Expenses as Special
                   Litigation Counsel to Debtors for the Period from January 1, 2008 through
                   January 31, 2008




                                        ~~
                                         Lyny Oberholzer


SWORN TO AN SUBSCRIED
by m th day of                March 2008.                 MARY E. CORCORA
                                                            NOTARY PUBLIC
                                                          STATE OF DELAWARE
Not ~ ub ie JJ Iii J to                                My commission expires Nov. 4, 20
My Commissi n Expires: ~I




91100-001\DOCS_DE:127906.36                        2
          Case 01-01139-AMC           Doc 18726-9   Filed 05/15/08                  Page 27 of 28




Grace Fee Application Service List              Federal Express and E-mail:
Case Number: 01-1139 (JK)                       willam.sTJarksgrace. com
Document Number: 45804                          (W.R. Grace & Co.)
01 - Hand Delivery                              Mark Shelntz
02 - Federal Express                            W.R. Grace and Co.
10- E-Mail                                      7500 Grace Drive
                                                Columbia, MD 21044

(Counsel to Debtors and Debtors in              E-mail: nf!lassman(W.bavardfirm.com
Possession)                                     (Local Counsel to DlP Lender)
Laura Davis Jones, Esquire                      Neil Glassman, Esquire
James E. O'Neil, Esquire                        The Bayard Firm
Pachulski Stang Ziehl & Jones LLP
919 North Market Street, 17th Floor             E-mail: meskin(wdel.camLev.com
P.O. Box 8705                                   (Local Counsel to Asbestos Claimants)
Wilmington, DE 19899-8705                       Marla Eskin, Esquire
                                                Campbell & Levine, LLC
(parcels)
Vito i. DiMaio                                  E-mail: ttacconelL(wferrvioseTJh.com
Parcels, Inc.                                   (Counsel for Property Damage Claimants)
10th & King Streets                             Theodore Tacconell, Esquire
P.O. Box 27                                     Ferry & Joseph, P.A.
Wilmington, DE 19899
                                                E-mail: miastowski(wduanemorris.com
Hand Delivery                                   (Counsel to Offcial Commttee of
(United States Trustee)                         Unsecured Creditors)
David Klauder, Esquire                          Michael R. Lastowski, Esquire
Offce ofthe United States Trustee               Duane, Morrs & Heckscher LLP
844 Kig Street, Room 2311
Wilmington, DE 19801                            E-mail: currier()clettroonev.com
                                                (Counsel for Official Commttee of              Equity
Federal Express                                 Holders)
(Fee Auditor)                                   Teresa K.D.Currer, Esquire
Waren H. Smith                                  Klett Rooney Lieber & Schorling
Warren H. Smith & Associates
Republic Center                                 E-mail: TJvn/..caTJdale.com
325 N. St. Paul                                 (Offcial Committee of               Personal Injury
Suite 1275                                      Claimants)
Dallas, TX 75201                                Elihu Inselbuch, Esquire
                                                Caplin & Drysdale, Charered
         Case 01-01139-AMC          Doc 18726-9   Filed 05/15/08   Page 28 of 28




E-mail: ;sakalo(.bilzin.com
(Offcial Commttee of
                       Property Damage
Claimants)
Scott L. Baena, Esquire
Bilzin Sumberg Dun Baena Price &
Axelrod LLP

E-mail: caroLhennessev(Jw.com
(Counsel to DIP Lender)
David S. Heller, Esquire
Latham & Watkins

E-mail: pbentlev(fcramerlevín.com
(Counsel to Official Committee of
                                  Equity
Holders)
Philip Bentley, Esquire
Kramer Levin N aftalIs & Franel LLP
